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                                    Ke'aujanaa Meeting
                                          Agenda
                                      11/5/2020 2:00-3:00



      Attendees:          Brian Deller, Janan Zimmerman, Laura Henly, Jay Birchmeier
                          Ke'aujanaa Shepherd Friday, George White, Natasha Shepherd,
                          Rida Jones



      1.    Welcome/Introductions

      2.    Communication: District's Role: Student is 18.

            a.     District Works with Ke'aujanaa.
            b.     Student shares with Advocate.

      3.    George's Concerns:

            Assessments: Not as comprehensive as usual.
                         Around Elementary level in Math and ELA.
                         Plan to monitor and increase skills prior to graduation
                         How does decoding without having the skills available.
            IEP accommodations: Seemed to enable the student.
                         Must be able to read at grade level by graduation.
                         Level the playing field and compete within the college world.
            Comprehensive Assessment:
                         Teach her what she doesn't know. Not the whole curriculum.
                         Can be taught at any level.
            Reading is a Skill:
                         Needs to be taught and is essential. She will be able to develop her
                         own reading skills once she is proficient.


      4..   Janan's Concerns:

                   Phonics aren't the only way to read. It isn't a given or a must have. Being
                   at grade level isn't a requirement for graduation or success.




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      4.    Ke'aujanaa Input:

            Would like to have a better knowledge of phonics. Not sure what phonics are.
            Dr. Henley explained what phonics are and what level they are worked on.

            She wants to do what George has discussed.



      5.    Rida Jones Input:

            Work with adult literacy program, didn't want to take students away from
            curriculum for phonics.

            Concerned about student's health and early attendance issues due to sickle cell.

            Put a plan together to help her be successful.


      6.    IDEAS:

                  Mom: Put together a plan.
                  Laura: Functioning at 6th grade level.
                  Janan: Average Reading Level @ 8th grade level.
                  Rida: Shirley Gilland Recommendation for program support for phonics.
                        Workbooks, Tapes, etc.
                  Laura: Do phonics with higher level content.

            Next Steps:
                             1. Develop a plan
                             2. Rida and Laura Talk to Shirley Gilland - Phonic Program/
                             3. Work with Peggy to continue with current graduation
                                Classes.
                             4. Rida will reach out to the Adult Literacy Network. Michael
                                Evans




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